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                      IN THE UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF NEW JERSEY



   In re:                                            Chapter 11

   LTL MANAGEMENT LLC,                               Case No. 21- 30589

                             Debtor.                 Honorable Michael B. Kaplan




                                   CERTIFICATE OF SERVICE

        I, Mark Falk, hereby certify under penalty of perjury the following:

        I am counsel for Randi S. Ellis, Legal Representative for Future Talc Claimants, in the

 above-captioned case (“Chapter 11 Case”).

        On April 29, 2022, I caused a true and correct copy of RANDI S. ELLIS, FTCR’S MARCH

 2022 MONTHLY FEE STATEMENT to be filed in the Chapter 11 Case and served via the Court’s

 CM/ECF system upon all parties registered to receive notice in the Chapter 11 Case.

        On April 29, 2022, the aforementioned document was also served via electronic mail on

 the parties listed on the attached exhibit.

        I hereby certify the foregoing statements made by me are true.

 Dated: April 29, 2022                               s/Mark Falk
                                                     Mark Falk
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